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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

THADDEUS MARK SURRENCY,
      Plaintiff,
v.                                                 Case No. 1:21-cv-116-AW-GRJ
ALACHUA COUNTY SHERIFF’S
OFFICE, et al.,
     Defendants.
_______________________________/
           ORDER ADOPTING REPORT AND RECOMMENDATION

      I have considered the magistrate judge’s September 13, 2021 Report and

Recommendation. ECF No. 10. No objections have been filed. I have determined

the Report and Recommendation should be adopted. It is now ORDERED:

      1.     The Report and Recommendation (ECF No. 10) is adopted and

incorporated into this order.

      2.     The clerk will enter a judgment that says, “Plaintiff’s complaint is

dismissed without prejudice for abuse of the judicial process.”

      3.     The clerk will close the file.

      SO ORDERED on October 28, 2021.

                                        s/ Allen Winsor
                                        United States District Judge
